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 IT IS ORDERED as set forth below:



 Date: October 29, 2018
                                                _____________________________________
                                                            James R. Sacca
                                                      U.S. Bankruptcy Court Judge

 _______________________________________________________________


                       UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF GEORGIA
                             GAINESVILLE DIVISION

   IN RE:

   Daniel Clair Simmons,                       CHAPTER 7
                                               CASE NO.: 18-21730-JRS
            Debtor,


   _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _
   _ _                                 _ _
   Nationstar Mortgage d/b/a Mr.
   Cooper,
                             Movant,
   v.

   Daniel Clair Simmons,
                                                 CONTESTED MATTER
            Debtor,
   Albert F. Nasuti,
            Trustee,

                                Respondents.

    ORDER GRATING MOTION FOR RELIEF FROM THE AUTOMATIC STAY

         Movant filed a Motion for Relief from Stay on September 20, 2018 together with
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  a Notice of Hearing set October 25, 2018 (Doc. No. 13) regarding Debtor(s) real estate

  located at 422 Grand Avenue, Suwanee, Georgia 30024 (the “Property”) (“Motion”) and

  contends service of the Motion and notice was proper upon Respondents. As no

  opposition was filed or advocated at the call of the calendar, it is hereby

  ORDERED that the 11 U.S.C. § 362(a) is modified for Movant herein, its successors and

  assigns, regarding the real property commonly known as 422 Grand Avenue, Suwanee,

  Georgia 30024.

  FURTHER ORDERED that Movant, its successors and assigns, may assert its rights,

  including, but not limited to, the institution and completion of foreclosure proceedings,

  the collection of reasonable fees, and may assert any and all of its respective rights and

  remedies under applicable law, as to its collateral.

  FURTHER ORDERED that the provisions of the Bankruptcy Rule 4001(a)(3) are

  waived.

  FURTHER ORDERED that upon completion of any foreclosure sale, any funds in excess

  of the amount due to Movant and to any subordinate lienholder(s) properly entitled to

  receive proceeds under applicable State Law, shall be paid to the Trustee for the benefit

  of the Estate.

                                   [END OF DOCUMENT]
  Prepared by:
  /s/ Andrea L. Betts
  Andrea L. Betts
  Attorney for Creditor
  Georgia Bar # 432863
  RAS Crane LLC
  10700 Abbott's Bridge Road
  Suite 170
  Duluth, GA 30097
  Telephone: 470-321-7112
  Fax: 404-393-1425
  Email: abetts@rascrane.com
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                                  DISTRIBUTION LIST


  Daniel Clair Simmons
  422 Grand Ave
  Suwanee, GA 30024-4299

  Patricia S. Glover
  Charlton & Glover, PC
  87 Vickery Street
  Roswell, GA 30075

  Albert F. Nasuti
  Thompson, Obrien, Kemp & Nasuti, P.C.
  40 Technology Parkway South
  Suite 300
  Peachtree Corners, GA 30092

  Office of the United States Trustee
  362 Richard Russell Building
  75 Ted Turner Drive, SW
  Atlanta, GA 30303

  RAS Crane LLC
  10700 Abbott's Bridge Road
  Suite 170
  Duluth, GA 30097
